          Case 4:17-cr-00319-JM Document 48 Filed 03/22/19 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                  No. 4:17-cr-00319-JM-1

MORGAN STEPHEN POOLE                                                            DEFENDANT

                                           ORDER

       The motion filed by the United States to dismiss the indictment against Defendant Morgan

Stephen Poole in this matter is GRANTED. Document #47. The indictment in the above

referenced case is hereby dismissed against Defendant Poole.

       IT IS SO ORDERED this 22nd day of March, 2019.




                                                   _________________________________
                                                   JAMES M. MOODY, JR.
                                                   UNITED STATES DISTRICT JUDGE
